               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:13 cr 24-2


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )            ORDER
                                             )
JOHN COLEMAN CARVER, III.                    )
______________________________________       )


       THIS CAUSE came on to be heard and was heard before the undersigned

pursuant to a Motion to Withdraw as Counsel (#25) filed by Defendant’s attorney,

Andrew Banzhoff.      In the motion, Mr. Banzhoff states that “defendant has

repeatedly refused to cooperate with counsel in discussing: 1) the evidence against

him, 2) any defenses that he may be able to raise, 3) the plea offer extended by the

United States, 4) his right to a trial by jury, and 5) the application of the United

States Sentencing Guidelines in the event the defendant pleads guilty or is found

guilty.” At the call of this matter on for hearing it appeared that Defendant was

present and his attorney Mr. Banzhoff was present and the Government was

present and represented by Assistant United States Attorney Richard Edwards.

From the statements of Mr. Banzhoff and the statements of the Defendant, the

Court makes the following findings.

       Findings.   Mr. Banzhoff advised that after he had reviewed the discovery


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provided by the United States, he scheduled a meeting with Defendant to come to

Mr. Banzhoff’s office for October 31, 2013 so the Defendant could review

discovery and discuss his trial or plea options. Defendant rescheduled this meeting

for November 5, 2013 and then did not appear for that appointment. Another

appointment was then scheduled by Mr. Banzhoff with Defendant for November

15, 2013 and Defendant failed to appear at that meeting. Further telephone calls

were made by Mr. Banzhoff’s staff on November 18 and 19, 2013 and during one

of the telephone calls, Defendant was overheard on the phone stating that he did

not wish to speak to Mr. Banzhoff or to his legal assistant.

      The undersigned conducted an inquiry with the Defendant and the

Defendant advised that on one occasion he had had radiator problems with his

vehicle and that was the reason he did not go to Mr. Banzhoff’s office to keep an

appointment. The Defendant did not make any further explanation in regard to his

failure to cooperate or work with his attorney in regard to the defense of his case.

      The trial of this matter is scheduled for the week of December 2, 2013. Mr.

Banzhoff filed his motion on Tuesday, November 19, 2013 and the motion was

heard on Monday, November 25, 2013. The week of November 25, 2013 contains

the Thanksgiving holidays and thus even counting November 25, 2013 there are

only three business days, that being the 25th, 26th and 27th before the trial of


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Defendant’s case on December 2, 2013.

      Discussion. An indigent Defendant has no right to have a particular lawyer

represent him or her and can demand a different attorney only with good cause.

US v. Allen, 789 F.2d 90, 92 (1st Cir. 1986). The determination of whether or not

a motion to withdraw should be granted is within the discretion of the trial court

and the court is entitled to take into account the countervailing state interest in

proceeding on schedule. Morris v. Slappy, 461 U.S. 1 (1983). In considering the

motion herein, the undersigned has considered the following factors: (1) timeliness

of the motion; (2) inquiry as to the reasons why the Defendant will not meet with

Mr. Banzhoff; and (3) whether or not there is such a conflict between the

Defendant and Mr. Banzhoff that is so great it has resulted in a total lack of

communication preventing an adequate defense. United States v. Gallop, 838 F.2d

105 (4th Cir. 1988).

      The first factor to be considered is the timeliness of the motion. Considering

all days, including weekends and holidays, there are only now six days between the

time of the hearing of the motion and the time that Defendant’s case is scheduled

for trial. It is the opinion of the undersigned that there is not sufficient time within

which to appoint another attorney and for that attorney to be prepared for the trial




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of this matter on December 2, 2013. This factor was weighed against granting the

motion.

      The undersigned has attempted to inquiry as to the reasons for the motion to

withdraw. It appears that Defendant simply will not go and meet with his attorney

and will not participate or work with his counsel in preparing any defense or even

in consulting with his counsel to see if the case should be tried before a jury or if

Defendant should enter a plea of guilty. The Defendant has intentionally neglected

his case which may be to his detriment. Mr. Banzhoff has been diligent in trying

to schedule meetings with Defendant and Defendant has failed to attend those

meetings without good cause.

      The undersigned has examined the matter to determine whether or not there

is such a conflict between Mr. Banzhoff and the Defendant that there is a total lack

of communication between them preventing an adequate defense. It appears there

is no conflict between Defendant and Mr. Banzhoff whatsoever. The Defendant

simply does not wish to participate in his own defense and further doesn’t wish to

assist his counsel in defending himself from the charges pending against him. The

undersigned is of the opinion that Mr. Banzhoff is doing all that he can to prepare a

defense, but he is limited by Defendant’s own actions. The undersigned cannot

weigh this factor in favor of granting the motion to withdraw.


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      After considering all of the factors, it appears there is little time before trial

within which to appoint other counsel who has the knowledge of the case that Mr.

Banzhoff possesses and to be ready for trial. The undersigned cannot find any

reason why Defendant will not cooperate with his counsel, other than Defendant’s

own neglect. The undersigned also has determined there does not appear to be any

conflict between Defendant and his counsel. The lack of communication that has

occurred has been caused by the neglect of Defendant or a lack of interest on

behalf of Defendant in defending the case.            Based upon the foregoing, the

undersigned has determined to enter an Order denying the motion to withdraw.

                                      ORDER
      IT IS, THEREFORE, ORDERED that the Motion to Withdraw as Counsel

(#25) of Andrew Banzhoff is hereby DENIED.
                                              Signed: November 26, 2013




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